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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                 CRIMINAL ACTION NO. 14-10363-RGS

                     UNITED STATES OF AMERICA

                                     v.

                          CHRISTOPHER LEARY


      MEMORANDUM AND ORDER ON DEFENDANT’S MOTION
              FOR JUDGMENT OF ACQUITTAL,
             OR, ALTERNATIVELY, A NEW TRIAL

                               April 12, 2019

STEARNS, D.J.

     After a ten-week trial and six days of deliberations, a jury convicted

defendant Christopher Leary – a former “Clean Room” pharmacist at the

now-defunct New England Compounding Center (NECC) – of three counts

of mail fraud relating to three shipments of compounded drugs to hospitals.

Leary was also found guilty of three counts of violating the federal Food,

Drug, and Cosmetic Act (FDCA), two of which were misdemeanors. He was

acquitted of violating the Racketeer Influenced and Corrupt Organizations

(RICO) statute, RICO conspiracy, and several other mail fraud counts. Leary

now moves for a judgment of acquittal on his counts of conviction (mail fraud

counts 33, 39, and 41, and FDCA counts 86, 92, and 94) pursuant to Fed. R.
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Crim. P. 29, or, in the alternative, for a new trial pursuant to Fed. R. Crim. P.

33.

      Rule 29 judgments of acquittal are granted sparingly. In deciding a

Rule 29 motion, the court is to “scrutinize the evidence in the light most

compatible with the verdict, resolve all credibility disputes in the verdict’s

favor, and then reach a judgment about whether a rational jury could find

guilt beyond a reasonable doubt.” United States v. Olbres, 61 F.3d 967, 970

(1st Cir. 1995), quoting United States v. Taylor, 54 F.3d 967, 974 (1st Cir.

1995). “Under the viewpoint principle, a jury charged with determining an

accused’s guilt or innocence is entitled to consider the evidence as a seamless

whole. . . . ‘The sum of an evidentiary presentation may well be greater than

its constituent parts.’” Olbres, 61 F.3d at 974, quoting United States v. Ortiz,

966 F.2d 707, 711 (1st Cir. 1992).

      The mail fraud statute criminalizes knowing participation in a “scheme

or artifice to defraud, or for obtaining money or property by means of false

or fraudulent pretenses.” 18 U.S.C. § 1341; see also United States v. Hebshie,

549 F.3d 30, 35-36 (1st Cir. 2008). Although not explicit in the text of the

statute, subsequent judicial interpretation has made clear that mail fraud

requires a “misrepresentation or concealment of a material fact.” United

States v. Neder, 527 U.S. 1, 22 (1999).                A false statement or


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misrepresentation is material if it has “a natural tendency to influence, or [is]

capable of influencing, the decisionmaking body to which it is addressed.”

Kungys v. United States, 485 U.S. 759, 770 (1988).

      Like his co-defendant Gene Svirskiy, Leary alleges a fatal evidentiary

insufficiency on two of the required elements of mail fraud. First, he argues

that the evidence was insufficient to show that he knowingly joined any

scheme at NECC with the requisite intent to defraud. Second, he argues that

he personally had no interactions with the purchasers of NECC’s drugs and

thus could not have made any misrepresentations, material or otherwise, to

induce these purchasers to part with money or property. Nor, he alleges, was

there evidence that he was aware of any of the representations made to

buyers by the NECC sales force.

      In support of the latter contention, Leary points to his acquittal on the

substantive racketeering and racketeering conspiracy charges, arguing that

these acquittals “directly affect[] the evidence that the jury could consider in

determining whether he was guilty of the charged mail fraud offenses.” Leary

Reply Mem., Dkt # 1881, at 3. So stated, the argument goes like this: because

the jury found that he was not a knowing participant in the mail fraud

racketeering enterprise (or conspiracy), the misrepresentations made to

purchasers by individuals that the government alleged were Leary’s co-


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conspirators should not be attributable to him by virtue of his acquittal on

those counts. See Leary Mem., Dkt # 1843, at 7 (“Leary was not charged with

independently devising a scheme to defraud NECC’s customers in order to

directly benefit himself.   He was charged as a member of a criminal

enterprise whose purpose was to defraud customers in order to benefit the

enterprise that was NECC – and as to that the jury found him not guilty.”)

(emphasis in original). 1

      The weakness of the argument is this: the government was not required

to secure a conviction on the RICO conspiracy count as a prerequisite for a

finding of guilt with respect to the scheme figuring in the substantive mail

fraud counts (which involved drug purchases by Glens Falls Hospital in

Glens Falls, New York, the Massachusetts Eye and Ear Institute in Boston,

and Florida Hospital Waterman in Tavares, Florida). While mail fraud can

be a predicate act for RICO purposes, its proof under RICO requires

additional showings of relatedness, temporality, agency, and membership in

the enterprise. Plain vanilla mail fraud, on the other hand, is a stand-alone

offense. Moreover, where charged as a joint venture, “a multi-member mail




      1The argument is loosely based on the doctrine that requires a judge to
make a pre-verdict determination whether out-of-court statements of
alleged coconspirators are admissible against a criminal defendant. See
generally United States v. Petrozziello, 548 F.2d 20 (1st Cir. 1977).
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fraud is itself treated like a conspiracy,” and is subject to the same rules of

imputed liability that apply in a generic conspiracy prosecution. United

States v. Yefsky, 994 F.2d 885, 893 (1st Cir. 1993).

      I agree (and the government appears to concur) that there was no

evidence that Leary personally “made any representation about NECC’s

products to a patient or a customer.” Leary Mem., Dkt # 1843, at 6. The

purchasers of NECC’s drugs uniformly testified that they did not interact

directly with any of the pharmacists in the Clean Room, but only with NECC

sales representatives, or occasionally, with Barry Cadden, NECC’s Chief

Pharmacist.    However, the question is not whether Leary made direct

misrepresentations to customers, but whether he was a knowing participant

in a “scheme or artifice to defraud, or for obtaining money or property by

means of false or fraudulent pretenses,” 18 U.S.C. § 1341, and that the making

of false pretenses was a reasonably foreseeable consequence of the scheme.

See United States v. Serrano, 870 F.2d 1, 6-7 (1st Cir. 1989) (“The

government need not prove that the defendant devised the fraudulent

scheme; but it must prove ‘willful participation in the scheme with

knowledge of its fraudulent nature and with intent that these illicit objectives

be achieved.’”) (citation omitted).




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      Notwithstanding the conspiracy acquittal, a reasonable jury could have

found that Leary engaged in affirmative acts that were intended to conceal

NECC’s non-compliance with United States Pharmacopeia (USP) guidelines

from potential regulatory scrutiny. There was evidence at trial that Leary

was involved in mislabeling NECC’s drugs to falsely give the appearance that

they had undergone full sterility testing, and that despite being aware of a

fungal bloom in the Clean Room, he joined others in falsifying the cleaning

logs. And for the reasons the court stated in rejecting co-defendant Svirskiy’s

Rule 29 motion, a reasonable jury would have been warranted in finding that

compliance with USP guidelines was material to the purchasing decision of

the purchasers of NECC’s drugs. See, e.g., Trial Tr. at 59 (Nov. 5, 2018)

(testimony from Andrew Cordiale, the buyer for Glens Falls Hospital noting

that sterility of drugs was “critical, because if it’s not sterile, it’s not to be put

in a person”).

      In an attempt at rebuttal, Leary minimizes his role at NECC, portraying

himself as “a young and inexperienced, but diligent and competent

pharmacist who conducted his job in good faith.” Leary Mem., Dkt # 1843,

at 6. However true a portrait, this same argument was made to a jury

properly instructed that good faith was a complete defense to the mail fraud

charges:


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      As with conspiracy, if a defendant acted in good faith, he or she
      cannot be guilty of the crime of mail fraud. The law regarding
      mail fraud is written to punish only those who act knowingly and
      willfully – that is, purposefully to violate the law, and with the
      specific intent to defraud. The burden of proving intent, as with
      all other elements of a crime, rests with the government. If you
      find that a defendant was not a knowing participant in the
      scheme or that he lacked the specific intent to defraud, you must
      find him not guilty.

See Trial Tr. at 204 (Dec. 4, 2018); Jury Inst. at 27. Thus, to the extent that

Leary seeks to relitigate this issue, the attempt is foreclosed by the jury’s

verdict. See Weeks v. Angelone, 528 U.S. 225, 234 (2000).2 Consequently,

the Rule 29 Motion will be denied as to the mail fraud counts.

      Leary was convicted under two separate provisions of the FDCA: (1)

the introduction of adulterated drugs – that is, drugs that were prepared,

packed, or stored under insanitary conditions – into interstate commerce

(Count 86), and (2) the introduction of misbranded drugs into interstate

commerce (Counts 92 and 94). With respect to the “insanitary conditions”




      2 Similarly, Leary’s complaint that the verdict in his case was
inconsistent with those of co-defendants Joseph Evanosky and Gene
Svirskiy, see Leary Mem., Dkt # 1843, at 3 n.2, is unsustainable as a matter
of law. Inconsistent jury verdicts have long been held unobjectionable as
long as they are “supported by sufficient evidence.” United States v. Stern,
13 F.3d 489, 494 (1st Cir. 1994); see also United States v. Maybury, 274 F.2d
899, 902 (2d Cir. 1960) (Friendly, J.) (“The vogue for repetitious multiple
count indictments may well produce an increase in seemingly inconsistent
jury verdicts, where in fact the jury is using its power to prevent the
punishment from getting too far out of line with the crime.”).
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count, the FDCA provides that “a drug or device shall be deemed to be

adulterated” when, inter alia, “it has been prepared, packed, or held under

insanitary conditions whereby it may have been contaminated with filth, or

whereby it may have been rendered injurious to health.” 21 U.S.C.

§ 351(a)(2).   A drug is misbranded if any word, statement, or other

information required by the FDCA to appear on the label or labeling is false

or misleading. Id.

      The jury heard ample evidence that Leary was aware of the widespread

(if episodic) contamination in the Clean Room and nonetheless participated

in the compounding of drugs in insanitary conditions for shipment to buyers.

The jury also heard evidence that Leary participated in the mislabeling of

drugs as sterile, tested, and potent. The evidence was more than sufficient

to sustain Leary’s convictions on the FDCA counts. 3 The Rule 29 Motion will

therefore be denied as to FDCA counts.

      In the alternative, Leary seeks a new trial under Fed. R. Crim. P. 33. A

district court’s power to order a new trial pursuant to Rule 33 is broader than




      3  Leary raises a final argument that all three FDCA counts constitute
strict liability offenses that are unconstitutional. As I have previously stated,
at Leary’s hearing and in an Order denying a Rule 29 Motion as to Leary’s
co-defendant Alla Stepanets, see Dkt # 1891, the constitutionality of strict
liability crimes under the FDCA is a settled matter. See, e.g., United States
v. Dotterweich, 320 U.S. 277 (1943).
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its power to grant a motion for acquittal. United States v. Rothrock, 806

F.2d 318, 321 (1st Cir. 1986). The court may consider both the weight of the

evidence and the credibility of the witnesses in deciding a motion for a new

trial. Id. However, “[t]he remedy of a new trial is rarely used; it is warranted

‘only where there would be a miscarriage of justice’ or ‘where the evidence

preponderates heavily against the verdict.’” United States v. Andrade, 94

F.3d 9, 14 (1st Cir. 1996), quoting United States v. Indelicato, 611 F.2d 376,

386 (1st Cir. 1979).

      Leary’s principal argument, which tracks that of co-defendant Svirskiy,

is that the court’s decision to permit the government to introduce limited

evidence of patient harm related to the fungal-contaminated MPA caused

him undue prejudice. This was a matter of extensive discussion prior to the

trial and resulted in an Order largely granting the defendants’ motion in

limine on the subject. See Dkt # 1495 (excluding evidence of patient harm

except for the limited purpose of informing the jury why federal investigators

had descended en masse on NECC’s premises in the fall of 2012).

      Consistent with its ruling, the court explained to the jury at the outset

of the trial why and for what purpose the government would be permitted to

offer some evidence of the outbreak and the ensuing harm. Trial Tr. at 7-8

(Oct. 15, 2018). I further instructed the jury as follows:


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      What I need you to keep in mind at all times is that none of these
      defendants are charged with any involvement in that batch of
      contaminated drugs, or batches as the case may be. What they
      are charged with is something entirely unrelated, in the sense
      that they [had] nothing, and are alleged to have [had] nothing, to
      do with the deaths or injuries.

Id. This instruction was repeated at various points throughout the trial. See,

e.g., Trial Tr. at 161 (Nov. 15, 2018) (“I’ve done this before, but I want to

remind you that none of the defendants here have been charged with any

involvement in the manufacture or compounding of the MPA that caused so

much damage.”).      The isolated incidents that Leary cites of witnesses

referring to “the outbreak,” see Leary Mem., Dkt # 1843 at 18-19, do not to

my mind impeach the force of the court’s cautionary instructions. While the

issue was a delicate one, I am confident that the correct balance between the

jury’s right to know and the defendant’s right not to be prejudiced by too

much extraneous information was struck.

      Leary next lodges an omnibus objection to the complexity and length

of this multi-defendant trial, suggesting that evidence introduced against

certain of his co-defendants created an improper spillover effect that resulted

in unfair prejudice to his defense. As the phrasing of the argument reveals,

this amounts to nothing more than speculation, and is refuted by the jury’s

verdicts of acquittal on the conspiracy and racketeering counts. See United

States v. Bailey, 405 F.3d 102, 112 (1st Cir. 2005) (“Such a discriminating

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verdict is strong evidence that the jury successfully compartmentalized the

evidence and applied the appropriate evidence to the appropriate counts.”).

      Third, Leary argues that it was error for the court to allow evidence of

Leary’s alleged compounding of LET gel in deviation from USP standards, as

he was not charged in any of the LET gel-related counts. However, the

government was within its rights to introduce evidence intended to show the

existence of a racketeering enterprise and pattern of conduct without

converting every alleged wrongful act into a standalone count in an already

overburdened indictment. See United States v. Connolly, 341 F.3d 16, 26

(1st Cir. 2003) (finding no error where “the government introduced

significant evidence of the existence of the enterprise apart from the specified

racketeering acts”). 4 In any event, there was no harm to Leary. He was

acquitted on both of the racketeering counts.




      4Leary also takes issue with the court’s decision to allow evidence of
Leary and other NECC employees boasting about the luxury cars that they
drove, suggesting that the evidence unfairly impugned his character. While
the evidence might well have been excluded, it was relevant to the
government’s theory that the defendants, including Leary, were driven to cut
corners for reasons of personal financial gain. It is well-established that
evidence pertaining to the motive for a fraud is relevant and important, see,
e.g., United States v. Appolon, 695 F.3d 44, 66 (1st Cir. 2012), and on
balance, given the passing nature of the testimony, I am confident that no
undue prejudice resulted.

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      Finally, echoing Svirskiy, Leary alleges that the court erred when it

revised the FDCA component of the proposed instructions to explain to the

jury that, in determining whether Leary introduced adulterated drugs into

interstate commerce with intent to defraud or mislead, “[t]he deceit must,

however, be about something material, that is, something important that has

a natural tendency to influence or at least is capable of influencing a

customer or a government regulator.” Trial Tr. at 214 (Dec. 4, 2018)

(emphasis added). The objection is to an interpretation of the FDCA to

include government entities as potential victims. The short answer is that

the case law is consistent with the court’s interpretation. See, e.g., United

States v. Arlen, 947 F.2d 139, 143 (5th Cir. 1991); United States v. Bradshaw,

840 F.2d 871, 874 (8th Cir. 1988).5

                                   ORDER

      For the foregoing reasons, Leary’s motion for judgment of acquittal,

or, alternatively, for a new trial is DENIED.

                                      SO ORDERED.
                                      /s/ Richard G. Stearns
                                      UNITED STATES DISTRICT JUDGE

      5  There was ample evidence that the scheme included an effort to
conceal NECC’s activities from the Massachusetts Board of Pharmacy
(MABOP). See Trial testimony of MABOP Samuel Penta regarding NECC’s
efforts to mislead MABOP (Nov. 15, 2018). Moreover, even were this error,
there was considerable evidence that NECC’s customers were the principal
target of the scheme to deceive.
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